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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                                   :
  IRIDA KIMCA, DERRICK SAMPSON,                    :
  BRITTANY TOMKO, JANCY ORTIZ,                     :        Civil Action No. 21-12977 (SRC)
  DINATRA WYNN, SARAH WARDALE,                     :
  and JUANITA CORNETT,                             :
  individually and on behalf of all others         :                    ORDER
  similarly situated,                              :
                                                   :
                                     Plaintiffs,   :
                                                   :
                        v.                         :
                                                   :
  SPROUT FOODS, INC. d/b/a SPROUT                  :
  ORGANIC FOODS and SPROUT                         :
  NUTRITION,                                       :
                                                   :
                                    Defendant.     :
                                                   :

CHESLER, District Judge

       This matter having come before the Court upon the motion filed by Defendant to dismiss

Plaintiffs’ First Amended Complaint [ECF No. 45]; and Plaintiffs having opposed the motion

[ECF No. 46]; and the Court having considered the papers filed by the parties; and the Court having

opted to rule on the motion based on the papers submitted and without oral argument, pursuant to

Federal Rule of Civil Procedure 78; and for the reasons expressed in the Opinion filed herewith;

       IT IS on this 25th day of April, 2022,

       ORDERED that Defendant’s motion to dismiss the First Amended Complaint is

GRANTED; and it is further

       ORDERED that the First Amended Complaint is DISMISSED without prejudice.

                                                       s/ Stanley R. Chesler
                                                       STANLEY R. CHESLER
                                                       United States District Judge
